Case 4:24-cv-00096-AMA-PK             Document 22      Filed 03/07/25     PageID.156        Page 1 of
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                                                                                    FILED
                                                                                2025 MAR 7
                                                                                   CLERK
 Clinton Brown, Self-Represented                                             U.S. DISTRICT COURT
 1431 Ocean Ave, Unit 413
 Santa Monica, CA 90401
 clinton@atlasinc.solar
 310-775-7990
 Note: The Clerk must not refuse to file a paper solely because it is not in the form prescribed by
 these rules or by a local rule or practice. See Rule 5(d)(4).

                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH



  CLINTON BROWN,                                    Case No. 4:24-cv-00096-AMA-PK

                       Plaintiff,                   SECOND AMENDED COMPLAINT

         v.                                         See Rule 15(a)(1) & ECF Nos. 17 at 2 & 20

  SHERRIE WILLIAMSON,                               Judge: Hon. Ann Marie McIff Allen

                       Defendant                    Magistrate Judge: Paul Kohler

                                                    JURY DEMANDED



        Clinton Brown (“Plaintiff”) for his Complaint against Sherrie Williamson (“Defendant”),

 alleges as follows:

                                       I. NATURE OF ACTION

        1.       Plaintiff seeks relief for Defendant’s breach of contract involving a solar energy

 project in Utah, pursuant to California Civil Code §§ 1549, 1550, 3300, 3301, and 3302, resulting
 in substantial damages due to Defendant’s failure to fulfill her payment obligations.

                                    II. JURISDICTION AND VENUE

        2.       This Court has jurisdiction under 28 U.S.C. § 1332(a). This case is a civil action,

 the amount in controversy exceeds $75,000, and the parties are citizens of California and Texas,

 respectively.

        3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because the
 events and property in Millard County, Utah, central to the case, occurred within this District.
Case 4:24-cv-00096-AMA-PK           Document 22        Filed 03/07/25     PageID.157        Page 2 of
                                              8



                                          III. STANDING

        4.       Plaintiff has standing to bring this action as required by Article III of the U.S.

 Constitution. Plaintiff has suffered concrete financial harm due to Defendant's failure to honor the

 terms of their contract. Plaintiff's injury is directly caused by Defendant's actions, and this harm

 can be redressed by the relief requested, including but not limited to, damages with pre-judgment

 and post-judgment interest.

                                           IV. PARTIES

        5.       Plaintiff: Clinton Brown resides at 1431 Ocean Avenue, Unit 413, Santa Monica,

 California 90401.

        6.       Defendant: Sherrie Williamson resides at 190 E Hospital Drive, Angleton, Texas

 77515. She is the owner of APN’s 8729 & 8209 in Millard County, Utah, which are involved in

 the contract.

                                  V. FACTUAL ALLEGATIONS

        I. The Contract and Breach.

        7.       April 18, 2023, Plaintiff and Defendant entered into an Exclusive Agreement for

 Finding a Power Income Contract for Landowner, under which Plaintiff, would receive 20% of all

 payouts from a Power Income Contract. (“PIC”). See Exhibit 1.

        8.       September 11, 2023, Plaintiff and Defendant amended the agreement, reducing
 Plaintiff’s payout from 20% to 5% of all payouts, with all other terms remaining unchanged. See

 Exhibit 2. Thus, the Exclusive Finding Agreement for Finding a Power Income Contract for

 Landowner governing the parties remained in force until September 17, 2024, as the September

 11, 2023, amendment explicitly stated that all terms other than payouts remained unchanged. This

 included the contractual duration of "one year," which began upon Defendant’s execution of the

 amended contract on September 17, 2023.

        9.       The Power Income Contract (“PIC”) is the contract between the landowner and the

 power developer, Samsung Rooh Project LLC. See Exhibit 3.
Case 4:24-cv-00096-AMA-PK          Document 22         Filed 03/07/25     PageID.158      Page 3 of
                                             8



        10.     On or around March 8, 2024, the Defendant received the Power Income Contract

 (“PIC”) that was procured by the Plaintiff, which was ultimately reviewed and signed on or before

 May 10, 2024, by the Defendant. See Teresa Brown Decl. at 14.

        11.     On May 10, 2024, the PIC agreement went into effect between Samsung Rooh

 Project LLC and the Defendant. See Exhibit 3 at 1.

        12.     On or around May 16, 2024, Defendant received the first payout from the PIC but

 did not payout the 5% owed to Plaintiff under the Amended Exclusive Finding Agreement for

 Finding a Power Income Contract for Landowner.

        13.     June 18, 2024, Plaintiff sent an email to Defendant requesting the contractual

 payment of the 5% distribution from the Samsung Rooh Project LLC, as outlined in their amended

 agreement.

        14.     On the same day, Plaintiff sent the first invoice to Defendant, requesting payment

 of the 5% distribution owed from the Samsung Rooh Project LLC solar project. Over the following

 months, Plaintiff sent multiple demands to Defendant regarding the unpaid invoices, including,

 but not limited to:

         June 18, 2024, Invoice sent.

         June 28, 2024, Auto reminder sent.

         June 29, 2024, Invoice viewed.
         June 30, 2024, Reminder sent.

         July 1, 2024, Final auto reminder sent.

         August 22, 2024, Additional reminder sent.

         October 18, 2024, Final reminder sent.

        15.     July 1, 2024, Plaintiff formally notified Defendant of non-compliance with the

 contract via email and postal mail and demanded payment.

        16.     Defendant never disputed Plaintiff’s right to receive payouts under the contract.
Case 4:24-cv-00096-AMA-PK            Document 22        Filed 03/07/25       PageID.159       Page 4 of
                                               8



        17.     Despite repeated efforts to notify Defendant of the outstanding payment obligation

 and the terms of the Amended Exclusive Finding Agreement for Finding a Power Income Contract

 for Landowner, Defendant has failed to make the required payments.

        18.     Defendant cannot retroactively disclaim her payment obligations, as the contract

 remained in full force until September 17, 2024. The amendment did not alter the one-year term

 but explicitly reaffirmed it. See Exhibit 2. Defendant knowingly entered into the Power Income

 Contract (“PIC”) while the Exclusive Finding Agreement for Finding a Power Income Contract

 for Landowner was still active and subsequently received payouts from the Power Income Contract

 (“PIC”), triggering her clear contractual obligation to pay Plaintiff.

        19.     The Plaintiff created a one-page contract so that the parties would be fully aware of

 the terms, but in no way did the parties intend to disclaim common contract background principles.

 In fact, the one-page contract was created by the Plaintiff to avoid litigation, not create litigation.

 In other words, this is a very simple contract and in no universe could the parties reasonable

 disagree on its terms. “Superseding: THIS AGREEMENT SUPERCEDES the agreement signed

 on 04/18/2023 and replaces ONLY the payouts provision while all remaining terms remain the

 same.” See Exhibit 2. This included “Length: Exclusive Agreement for Finding a Power Income

 Contract for one (1) year.” Id. This amended version was signed on September 11, 2023, by the

 Plaintiff and on September 17, 2023, by the Defendant. Thus, the expiration of the date of the
 Exclusive Finding Agreement for Finding a Power Income Contract for Landowner contract was

 September 17, 2024.

        20.     In any event, this was an exclusive agreement and if the Defendant, even on their

 own accord, procured an agreement with Samsung Rooh Project LLC prior to the expiration of the

 Exclusive Finding Agreement for Finding a Power Income Contract for Landowner then the

 Defendant is still liable for payouts of 5% to the Plaintiff. In other words, even if the Plaintiff did

 not procure the Samsung Rooh Project LLC or any other PIC agreement the Defendant is still

 liable under the agreed contract terms to pay 5% of any signed PIC contract. This is, after all, the
Case 4:24-cv-00096-AMA-PK           Document 22        Filed 03/07/25      PageID.160       Page 5 of
                                              8



 very definition of how a solar energy broker operates. “Authority: This exclusive agreement

 authorizes [Plaintiff] to seek a Power Income Contract for the Owner to negotiate.” See Exhibit 2.

        21.     The expiration of the Exclusive Finding Agreement for Finding a Power Income

 Contract for Landowner contract does not terminate the Defendant’s payment obligations to the

 Plaintiff arising from the PIC with Samsung Rooh Project LLC. “…all payouts from a signed

 Power Income Contract” means all payouts that derive from the Samsung Rooh Project LLC

 contract. All means all.

        II. The Plaintiff’s Standing to Bring This Suit.

        22.     Because of Defendant’s refusal to pay, Plaintiff has been directly prevented from

 conducting his small business operations, causing a personal harm that is distinct from and not

 merely derivative of any corporate losses. Thus, Defendant’s failure to pay Plaintiff under the

 contract has directly harmed Plaintiff’s ability to secure future Power Income Contract (“PIC”)

 agreements, maintain professional relationships within the industry, and sustain the operational

 continuity of his business.

        23.     Plaintiff has personal standing to bring this action because Defendant’s refusal to

 pay has directly harmed Plaintiff as an individual, not merely as a corporate officer or shareholder.

 Defendant’s breach has prevented Plaintiff from conducting his small business operations, causing

 personal financial injury and disrupting his ability to earn a living in his profession. Plaintiff’s
 harm is distinct and independent from any alleged corporate losses, and he has suffered direct

 financial, reputational, and professional consequences.

        24.      Plaintiff personally relied on the contractual payouts to sustain himself and

 continue working in the solar energy broker industry. Defendant’s failure to pay has caused direct

 financial distress, forcing Plaintiff to cover business expenses from personal funds, deplete his

 personal savings, and endure economic hardship unrelated to any corporate entity.

        25.     Plaintiff has suffered personal reputational harm within the solar energy broker

 industry, as his inability to secure expected payments has raised concerns among other landowners,
 power developers, and financial partners. This harm is not corporate in nature but directly affects
Case 4:24-cv-00096-AMA-PK            Document 22         Filed 03/07/25      PageID.161        Page 6 of
                                               8



 Plaintiff’s own credibility and ability to enter into new contracts as an individual professional in

 the industry.

           26.   Defendant’s refusal to pay has placed undue financial stress on Plaintiff as an

 individual, forcing him to delay personal financial obligations, deplete his personal savings, and

 endure significant emotional and mental strain from the uncertainty of when or if he will receive

 his rightful compensation. These harms are personal in nature and separate from any corporate

 entity, making Plaintiff’s standing clear and indisputable.

           27.   In sum, Plaintiff has standing to bring this action as required by Article III of the

 U.S. Constitution. Plaintiff has suffered concrete financial harm due to Defendant's failure to honor

 the terms of their contract. Plaintiff's injury is directly caused by Defendant's actions, and this harm

 can be redressed by the relief requested, including but not limited to, damages with pre-judgment

 and post-judgment interest.

                                         VI. LEGAL CLAIM

                                   COUNT I: Breach of Contract

                            California Civil Code §§ 3300, 3301 & 3302

           28.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 herein.

           29.   A valid and enforceable contract existed between Plaintiff and Defendant, governed
 by the principles of contract formation under California Civil Code §§ 1549 & 1550.

           30.   Plaintiff fully performed all contractual obligations and met all conditions

 precedent under the Exclusive Finding Agreement for Finding a Power Income Contract for

 Landowner, including but not limited to securing a Power Income Contract (PIC) with Samsung

 Rooh Project LLC.

           31.   Defendant materially breached the contract by failing to make the required

 payments, despite having actual knowledge of her obligations and receiving substantial financial

 benefits under the Power Income Contract (PIC). Defendant was repeatedly notified of her
Case 4:24-cv-00096-AMA-PK            Document 22          Filed 03/07/25    PageID.162       Page 7 of
                                               8



 obligations and failed to cure her breach despite multiple formal demands. As a direct result,

 Plaintiff has suffered significant financial harm.

           32.   As a direct and proximate result of Defendant’s breach, Plaintiff suffered monetary

 damages pursuant to California Civil Code §§ 3300, 3301, and 3302.

                             COUNT II: Quasi-Contract (Alternative Claim)

           33.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 herein.

           34.   This claim is pled in the alternative to Plaintiff’s breach of contract claim. If no

 valid and enforceable contract exists, Plaintiff seeks relief under quasi-contract to prevent

 Defendant’s unjust enrichment.

           35.   Thus, in the alternative, Defendant is liable under the equitable doctrine of unjust

 enrichment, which entitles Plaintiff to recover benefits conferred upon Defendant that were

 knowingly accepted and unjustly retained without compensation.

           36.   Plaintiff provided a substantial benefit to Defendant by securing the Power Income

 Contract (“PIC”), which directly enabled Defendant to enter into a profitable agreement.

           37.   Defendant accepted and retained the benefit of the Power Income Contract (“PIC”)

 by executing the agreement and receiving financial payouts while failing to compensate Plaintiff

 in accordance with their contractual arrangement.
           38.   By retaining the benefit of the Power Income Contract (PIC) without compensating

 Plaintiff, Defendant has been unjustly enriched at Plaintiff’s direct expense. It would be inequitable

 to allow Defendant to enjoy financial payouts resulting from Plaintiff’s work without

 compensating Plaintiff for the value of those efforts.

           39.   Plaintiff has suffered direct financial harm due to Defendant’s failure to provide

 compensation for the services rendered.

           40.   Plaintiff is entitled to restitution and disgorgement for the reasonable value of

 services rendered, as Defendant’s retention of benefits without payment is contrary to equity, good
 conscience, and fundamental principles of fair dealing.
Case 4:24-cv-00096-AMA-PK                  Document 22            Filed 03/07/25         PageID.163           Page 8 of
                                                     8



                                         VII. PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that this Court:

          1.       Declare that Defendant is obligated to pay Plaintiff under the terms of the amended

 contract, as governed by California law;

          2.       Enter judgment in favor of Plaintiff in the amount of $891,925.20, plus pre-

 judgment and post-judgment interest costs;

          3.       Issue an order pursuant to 28 U.S.C. § 1963 allowing Plaintiff to register the

 judgment in any other Federal district court for enforcement, should Defendant fail to satisfy the

 judgment;

          4.       Grant Plaintiff any further relief deemed necessary or appropriate.

                                        DEMAND FOR JURY TRIAL

                     The Plaintiff hereby demands a jury trial for all claims so triable.


 Dated: March 7, 2025                                            /s/ Clinton Brown, Self-Represented 1
                                                                 1431 Ocean Ave, Unit 413
                                                                 Santa Monica, CA 90401
                                                                 clinton@atlasinc.solar
                                                                 310-775-7990

                          CC: All Counsel of Record (via ECF) on March 7, 2025




 1
   “I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States of America that
 the foregoing is true and correct.” See 28 U.S.C. § 1746.
